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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MONTANA


       In re: MDK SPORTS LLC                                        §   Case No. 10-60026-7
                                                                    §
                                                                    §
   Debtor(s)                                                        §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         RICHARD J. SAMSON, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $3,103,181.10                      Assets Exempt: $0.00
 (without deducting any secured claims)
 Total Distribution to Claimants:$346,333.69         Claims Discharged
                                                     Without Payment: $4,643,300.75

 Total Expenses of Administration:$223,948.19


         3) Total gross receipts of $    570,281.88 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2 ), yielded net receipts of $570,281.88
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                       $4,119,253.95         $87,909.28        $27,911.28         $27,909.28

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00         223,948.19        223,948.19         223,948.19

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00         341,169.26        341,169.26         318,424.41
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                  9,301,220.88      10,856,442.63       4,049,276.07                 0.00

                                       $13,420,474.83     $11,509,469.36      $4,642,304.80       $570,281.88
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on January 08, 2010.
  The case was pending for 48 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 12/19/2013                 By: /s/RICHARD J. SAMSON
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                    $ AMOUNT
              DESCRIPTION
                                                                                         TRAN. CODE 1                RECEIVED
     BANK ACCOUNTS                                                                      1129-000                        1,912.11

     MDK Dealership Group, LLC                                                          1129-000                       11,274.82

     Sport Cycle Leasing Note Receivable                                                1129-000                      127,088.58

     2007Mitsubishi Truck                                                               1129-000                        7,000.00

     2006 Ultracomp Trailer                                                             1129-000                      170,000.00

     2008 Ultracomp Trailer                                                             1129-000                      250,000.00

     Refund of Insurance Premium                                                        1290-000                         582.39

     Refund from Overpayment on Account                                                 1290-000                         393.60

     Franchise Tax refund 2011                                                          1224-000                         800.00

     Franchise tax refund 2010                                                          1224-000                         226.59

     Franchise tax refund 2012                                                          1224-000                         900.00

     Interest Income                                                                    1270-000                         103.79


    TOTAL GROSS RECEIPTS                                                                                             $570,281.88

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                          UNIFORM                    $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                         TRAN. CODE                     PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                   $0.00
    PARTIES




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EXHIBIT 3 SECURED CLAIMS


                                     UNIFORM     CLAIMS
   CLAIM                                        SCHEDULED         CLAIMS           CLAIMS       CLAIMS
    NO.              CLAIMANT         TRAN.     (from Form       ASSERTED         ALLOWED        PAID
                                      CODE          6D)
      2     INLAND KENWORTH US INC   4210-000      N/A              60,000.00            0.00          0.00

 NOTFILED   Bridge Bank              4110-000     4,119,253.95     N/A                   2.00          0.00

            Bank of America          4210-000      N/A              27,909.28       27,909.28     27,909.28


 TOTAL SECURED CLAIMS                            $4,119,253.95     $87,909.28      $27,911.28    $27,909.28



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                     UNIFORM
    PAYEE                                        CLAIMS           CLAIMS           CLAIMS       CLAIMS
                                      TRAN.
                                                SCHEDULED        ASSERTED         ALLOWED        PAID
                                      CODE
 RICHARD J. SAMSON                   2100-000      N/A              29,964.09       29,964.09     29,964.09

 RICHARD J. SAMSON                   2200-000      N/A                   200.00        200.00       200.00

 DANIEL T. PALADINO                  3991-000      N/A              25,000.00       25,000.00     25,000.00

 DAVIS WRIGHT TREMAINE LLP           3210-000      N/A              84,983.22       84,983.22     84,983.22

 DAVIS WRIGHT TREMAINE LLP           3220-000      N/A               2,658.75        2,658.75      2,658.75

 The Bank of New York Mellon         2600-000      N/A                   656.36        656.36       656.36

 The Bank of New York Mellon         2600-000      N/A                   772.60        772.60       772.60

 The Bank of New York Mellon         2600-000      N/A                   700.62        700.62       700.62

 The Bank of New York Mellon         2600-000      N/A                   688.27        688.27       688.27

 The Bank of New York Mellon         2600-000      N/A                   769.14        769.14       769.14

 DAVIS WRIGHT TREMAINE LLP           3210-000      N/A              16,927.54       16,927.54     16,927.54

 DAVIS WRIGHT TREMAINE LLP           3220-000      N/A                     8.16          8.16          8.16

 The Bank of New York Mellon         2600-000      N/A                   717.10        717.10       717.10

 The Bank of New York Mellon         2600-000      N/A                   726.83        726.83       726.83

 The Bank of New York Mellon         2600-000      N/A                   657.15        657.15       657.15

 The Bank of New York Mellon         2600-000      N/A                   678.46        678.46       678.46

 CALIFORNIA FRANCHISE TAX BOARD      2820-000      N/A               4,107.00        4,107.00      4,107.00

 CALIFORNIA FRANCHISE TAX BOARD      2820-000      N/A               2,500.00        2,500.00      2,500.00

 CALIFORNIA FRANCHISE TAX BOARD      2820-000      N/A                   800.00        800.00       800.00

 The Bank of New York Mellon         2600-000      N/A                   649.72        649.72       649.72

 The Bank of New York Mellon         2600-000      N/A                   726.70        726.70       726.70


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 The Bank of New York Mellon          2600-000          N/A                      637.10         637.10       637.10

 The Bank of New York Mellon          2600-000          N/A                      701.62         701.62       701.62

 The Bank of New York Mellon          2600-000          N/A                      678.21         678.21       678.21

 ANDERSON ZURMUEHLEN & CO, P.C.       3410-000          N/A                    2,625.00       2,625.00      2,625.00

 The Bank of New York Mellon          2600-000          N/A                      611.27         611.27       611.27

 The Bank of New York Mellon          2600-000          N/A                      825.01         825.01       825.01

 The Bank of New York Mellon          2600-000          N/A                      650.37         650.37       650.37

 DAVIS WRIGHT TREMAINE LLP            3210-000          N/A                  38,007.61       38,007.61     38,007.61

 DAVIS WRIGHT TREMAINE LLP            3220-000          N/A                       33.46          33.46         33.46

 Rabobank, N.A.                       2600-000          N/A                      142.40         142.40       142.40

 Rabobank, N.A.                       2600-000          N/A                      111.56         111.56       111.56

 Rabobank, N.A.                       2600-000          N/A                       91.43          91.43         91.43

 Rabobank, N.A.                       2600-000          N/A                       94.56          94.56         94.56

 Rabobank, N.A.                       2600-000          N/A                      104.20         104.20       104.20

 Rabobank, N.A.                       2600-000          N/A                      100.79         100.79       100.79

 Rabobank, N.A.                       2600-000          N/A                       90.90          90.90         90.90

 Rabobank, N.A.                       2600-000          N/A                      106.99         106.99       106.99

 ANDERSON ZURMUEHLEN & CO., P.C.      3410-000          N/A                    3,444.00       3,444.00      3,444.00

 TOTAL CHAPTER 7 ADMIN. FEES                            N/A                $223,948.19     $223,948.19   $223,948.19
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM
    PAYEE                                           CLAIMS              CLAIMS             CLAIMS        CLAIMS
                                       TRAN.
                                                   SCHEDULED           ASSERTED           ALLOWED         PAID
                                       CODE
                                                 None

 TOTAL PRIOR CHAPTER ADMIN.                             N/A                       $0.00          $0.00         $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                      UNIFORM       CLAIMS              CLAIMS
   CLAIM                                           SCHEDULED           ASSERTED            CLAIMS        CLAIMS
    NO.           CLAIMANT             TRAN.        (from Form        (from Proofs of     ALLOWED         PAID
                                       CODE             6E)                Claim)
     10P   EMPLOYMENT DEVELOPMENT     5800-000          N/A                    3,898.24       3,898.24      3,638.35
           DEPARTMENT
     13    INTERNAL REVENUE SERVICE   5800-000          N/A                 337,271.02      337,271.02    314,786.06

 TOTAL PRIORITY UNSECURED                                     $0.00        $341,169.26     $341,169.26   $318,424.41
 CLAIMS

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EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                         UNIFORM     CLAIMS             CLAIMS
   CLAIM                                            SCHEDULED          ASSERTED             CLAIMS         CLAIMS
    NO.            CLAIMANT               TRAN.     (from Form        (from Proofs of      ALLOWED          PAID
                                          CODE          6F)                Claim)
      1     NACNAC, LLC                  7100-000      N/A                3,179,081.27      3,179,081.27        0.00

      3     ORRICK,HERRINGTON AND        7100-000            165.00         260,123.44           165.00         0.00
            SUTCLIFFE
      4     TARANTINO TRUST              7100-000      unknown              674,331.64        674,331.64        0.00

      5     DAVID HERZOG/JONATHAN        7100-000       105,000.00          130,000.00        130,000.00        0.00
            BACKMAN
      6     MPK LLC                      7100-000      N/A                3,113,824.93              0.00        0.00

      7     Mark D. Kvamme               7100-000     8,561,608.00        2,905,987.50              0.00        0.00

      8     FRANK RIMMERMAN AND CO LLP   7100-000        40,423.20           57,922.20         57,922.20        0.00

      9     Presley Properties, LLC and 7100-000       N/A                  527,395.69              0.00        0.00
            Marks-Redwood, LLC dba
     10U    EMPLOYMENT DEVELOPMENT GROUP 7200-000      N/A                        463.29         463.29         0.00

     11     K AND K INSURANCE GROUP,     7200-000      N/A                     7,312.67         7,312.67        0.00
            INC.
     12     BARRY GILBERT                7200-000      N/A                  N/A                     0.00        0.00

 NOTFILED   Bergeson LLP                 7100-000        52,513.63          N/A                   N/A           0.00

 NOTFILED   Canyon International         7100-000        24,927.25          N/A                   N/A           0.00
            Marketing and Media
 NOTFILED   Intaact Corp                 7100-000        12,413.59          N/A                   N/A           0.00

 NOTFILED   Scott Merrill                7100-000         7,500.00          N/A                   N/A           0.00

 NOTFILED   Machine Incorporated         7100-000         2,987.50          N/A                   N/A           0.00

 NOTFILED   William H. Banker, Jr.       7100-000       492,902.81          N/A                   N/A           0.00
            Trustee et al
 NOTFILED   Urban Moto                   7100-000            187.50         N/A                   N/A           0.00

 NOTFILED   XTRM                         7100-000            592.40         N/A                   N/A           0.00

 TOTAL GENERAL UNSECURED                             $9,301,220.88      $10,856,442.63     $4,049,276.07       $0.00
 CLAIMS




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                                                                                                                                                      Exhibit 8


                                                                    Form 1                                                                            Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 10-60026-7                                                     Trustee:        (460150)     RICHARD J. SAMSON
Case Name:        MDK SPORTS LLC                                            Filed (f) or Converted (c): 01/08/10 (f)
                                                                            §341(a) Meeting Date:        02/02/10
Period Ending: 12/19/13                                                     Claims Bar Date:             06/28/10

                                1                            2                         3                      4              5                    6

                    Asset Description                     Petition/           Estimated Net Value         Property      Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)       Unscheduled      (Value Determined By Trustee,   Abandoned      Received by       Administered (FA)/
                                                           Values           Less Liens, Exemptions,      OA=§554(a)      the Estate        Gross Value of
Ref. #                                                                          and Other Costs)                                          Remaining Assets

 1       BANK ACCOUNTS                                       1,000.00                         0.00                            1,912.11                    FA

 2       MDK MOTORSPORTS - CONCORD LLC                           0.00                         0.00                                 0.00                   FA

 3       MDK FOLSON LLC                                          0.00                         0.00                                 0.00                   FA

 4       MDK MOTORSPORTS - OAKLAND LLC                           0.00                         0.00                                 0.00                   FA

 5       MDK SPEED EQUIPMENT LLC                                 0.00                         0.00                                 0.00                   FA

 6       MDK RACING LLC                                          0.00                         0.00                                 0.00                   FA

 7       Sports Cycling Leasing, Inc. (u)                  348,181.10                         0.00                                 0.00                   FA

 8       FACELIFT UNLIMITED DESIGNS LLC                          0.00                         0.00                                 0.00                   FA

 9       MDK Dealership Group, LLC                         600,000.00                         0.00                           11,274.82                    FA

10       MDK Promotions LLC                                      0.00                         0.00                                 0.00                   FA

11       MDK MOTORSPORTS - PASO ROBLES LLC                       0.00                         0.00                                 0.00                   FA

12       Sport Cycle Leasing Note Receivable               284,749.00                         0.00                          127,088.58                    FA

13       Claim against Xyience, Inc.                     2,450,000.00                         0.00                                 0.00                   FA

14       Claim agains Barry Gilbert                        300,000.00                         0.00                                 0.00                   FA

15       2007Mitsubishi Truck                               12,500.00                         0.00                            7,000.00                    FA

16       95 Ford Van                                         5,000.00                         0.00                                 0.00                   FA

17       2006 Ultracomp Trailer                            200,000.00                         0.00                          170,000.00                    FA

18       2008 Ultracomp Trailer                            225,000.00                         0.00                          250,000.00                    FA

19       Refund of Insurance Premium (u)                         0.00                      Unknown                               582.39                   FA

20       Refund from Overpayment on Account (u)                  0.00                         0.00                               393.60                   FA

21       Franchise Tax refund 2011 (u)                           0.00                         0.00                               800.00                   FA

22       Franchise tax refund 2010 (u)                           0.00                         0.00                               226.59                   FA

23       Franchise tax refund 2012 (u)                           0.00                         0.00                               900.00                   FA

 Int     INTEREST (u)                                        Unknown                           N/A                               103.79                   FA

 24      Assets     Totals (Excluding unknown values)    $4,426,430.10                       $0.00                        $570,281.88                  $0.00




                                                                                                                       Printed: 12/19/2013 11:33 AM    V.13.13
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                                                                                                                                                                Exhibit 8


                                                                         Form 1                                                                                 Page: 2

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 10-60026-7                                                        Trustee:       (460150)      RICHARD J. SAMSON
Case Name:       MDK SPORTS LLC                                                Filed (f) or Converted (c): 01/08/10 (f)
                                                                               §341(a) Meeting Date:        02/02/10
Period Ending: 12/19/13                                                        Claims Bar Date:             06/28/10

                              1                                    2                      3                       4                    5                   6

                    Asset Description                           Petition/        Estimated Net Value         Property             Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled   (Value Determined By Trustee,   Abandoned             Received by      Administered (FA)/
                                                                 Values        Less Liens, Exemptions,      OA=§554(a)             the Estate       Gross Value of
Ref. #                                                                             and Other Costs)                                                Remaining Assets


     Major Activities Affecting Case Closing:

     Initial Projected Date Of Final Report (TFR):   December 30, 2012           Current Projected Date Of Final Report (TFR):       August 23, 2013 (Actual)




                                                                                                                                 Printed: 12/19/2013 11:33 AM    V.13.13
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                                                                                                                                                                                Exhibit 9


                                                                                  Form 2                                                                                         Page: 1

                                                    Cash Receipts And Disbursements Record
Case Number:         10-60026-7                                                                     Trustee:            RICHARD J. SAMSON (460150)
Case Name:           MDK SPORTS LLC                                                                 Bank Name:          The Bank of New York Mellon
                                                                                                    Account:            9200-******76-65 - Checking Account
Taxpayer ID #: **-***2903                                                                           Blanket Bond:       $78,692.00 (per case limit)
Period Ending: 12/19/13                                                                             Separate Bond: N/A

   1            2                           3                                      4                                                5                   6                   7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                   T-Code              $                   $       Account Balance
05/03/10       {1}        Debtor                          TURNOVER OF FUNDS FROM BANK                          1129-000              1,000.00                                   1,000.00
                                                          ACCOUNT
05/17/10      {19}        Allied Administrators           Insurance premium refund                             1290-000                 582.39                                  1,582.39
05/28/10       Int        The Bank of New York Mellon     Interest posting at 0.0700%                          1270-000                   0.06                                  1,582.45
06/30/10       Int        The Bank of New York Mellon     Interest posting at 0.0700%                          1270-000                   0.09                                  1,582.54
07/29/10      {12}        Sport Cycle Leasing             Funds Wired to Trustee - Excess Proceeds             1129-000            28,000.00                                29,582.54
                                                          from liquidation of subsidiary entity
07/30/10       Int        The Bank of New York Mellon     Interest posting at 0.0700%                          1270-000                   0.25                              29,582.79
08/03/10                  Bank of America                 Payment of Secured Lien Per Court Order to           4210-000                                 27,909.28               1,673.51
                                                          Inland Kenworth
08/13/10      {17}        Steve Aldaco Management Group   Purchase of trailer per court order                  1129-000           170,000.00                            171,673.51
08/26/10      {20}        Bank of America                 Refund on overpaid credit card account.              1290-000                 393.60                          172,067.11
08/31/10       Int        The Bank of New York Mellon     Interest posting at 0.0700%                          1270-000                   6.40                          172,073.51
09/07/10                  ACCOUNT FUNDED:                 TRANSFER OF FUNDS TO OPEN TIA                        9999-000                                170,000.00               2,073.51
                          9200******7619
09/30/10       Int        The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   1.00                                  2,074.51
10/13/10      {12}        Great Northern Ventures         Payment of funds from ongoing liquidation of         1129-000            25,000.00                                27,074.51
                                                          Sports Cycle Leasing
10/29/10       Int        The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.14                              27,074.65
11/30/10       Int        The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.22                              27,074.87
12/17/10      {18}        Reed Racing LLC                 Funds wired for 2008 Ultracomp Trailer               1129-000           250,000.00                            277,074.87
12/31/10       Int        The Bank of New York Mellon     Interest posting at 0.0300%                          1270-000                   3.74                          277,078.61
01/31/11       Int        The Bank of New York Mellon     Interest posting at 0.0300%                          1270-000                   7.05                          277,085.66
02/01/11      1001        DANIEL T. PALADINO              Sales Commission - 2008 Ultra Comp Trailer           3991-000                                 25,000.00       252,085.66
02/28/11       Int        The Bank of New York Mellon     Interest posting at 0.0300%                          1270-000                   5.92                          252,091.58
03/10/11       {1}        Bank of America                 Bank account funds.                                  1129-000                 115.58                          252,207.16
03/31/11       Int        The Bank of New York Mellon     Interest posting at 0.0300%                          1270-000                   6.42                          252,213.58
04/26/11      {15}        Keith Stavert                   Payment for Mitsubishi truck                         1129-000              7,000.00                           259,213.58
04/29/11       Int        The Bank of New York Mellon     Interest posting at 0.0300%                          1270-000                   6.22                          259,219.80
05/18/11      1002        DAVIS WRIGHT TREMAINE LLP       Interim Attorney Fees                                3210-000                                 84,983.22       174,236.58
05/18/11      1003        DAVIS WRIGHT TREMAINE LLP       Payment of Interim Costs                             3220-000                                  2,658.75       171,577.83
05/31/11       Int        The Bank of New York Mellon     Interest posting at 0.0300%                          1270-000                   6.23                          171,584.06
06/30/11       Int        The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   1.45                          171,585.51
06/30/11                  From Account #9200******7619    Consolidation of accounts following CD rollover 9999-000                170,038.44                            341,623.95
07/06/11       {1}        Bridgebank                      Bank Account Proceeds                                1129-000                 786.53                          342,410.48
07/29/11       Int        The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   2.90                          342,413.38
08/01/11                  The Bank of New York Mellon     Bank and Technology Services Fee                     2600-000                                     656.36      341,757.02

                                                                                                    Subtotals :                  $652,964.63          $311,207.61
{} Asset reference(s)                                                                                                                        Printed: 12/19/2013 11:33 AM        V.13.13
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                                                                                                                                                                              Exhibit 9


                                                                              Form 2                                                                                          Page: 2

                                                  Cash Receipts And Disbursements Record
Case Number:         10-60026-7                                                                   Trustee:            RICHARD J. SAMSON (460150)
Case Name:           MDK SPORTS LLC                                                               Bank Name:          The Bank of New York Mellon
                                                                                                  Account:            9200-******76-65 - Checking Account
Taxpayer ID #: **-***2903                                                                         Blanket Bond:       $78,692.00 (per case limit)
Period Ending: 12/19/13                                                                           Separate Bond: N/A

   1            2                          3                                    4                                                 5                  6                    7

 Trans.     {Ref #} /                                                                                                         Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From            Description of Transaction                   T-Code              $                  $       Account Balance
08/31/11       Int        The Bank of New York Mellon   Interest posting at 0.0100%                          1270-000                  2.89                           341,759.91
08/31/11                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    796.05       340,963.86
09/26/11                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    -23.45       340,987.31
                                                        Adjustment
09/30/11       Int        The Bank of New York Mellon   Interest posting at 0.0100%                          1270-000                  2.79                           340,990.10
09/30/11                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    700.62       340,289.48
10/12/11       {9}        MDK Dealership Group          Receipt of Funds from Subsidiary Entity              1129-000            11,274.82                            351,564.30
10/31/11       Int        The Bank of New York Mellon   Interest posting at 0.0100%                          1270-000                  2.94                           351,567.24
10/31/11                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    688.27       350,878.97
11/30/11       Int        The Bank of New York Mellon   Interest posting at 0.0100%                          1270-000                  2.87                           350,881.84
11/30/11                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    769.14       350,112.70
12/02/11       {1}        Glacier Bank                  Closing balance from bank account.                   1129-000                 10.00                           350,122.70
12/19/11      1004        DAVIS WRIGHT TREMAINE LLP     Payment of Second Interim Fees Approved by           3210-000                                16,927.54        333,195.16
                                                        Court
12/19/11      1005        DAVIS WRIGHT TREMAINE LLP     Payment of Interim Costs as Approved by              3220-000                                       8.16      333,187.00
                                                        Court
12/30/11       Int        The Bank of New York Mellon   Interest posting at 0.0100%                          1270-000                  2.95                           333,189.95
12/30/11                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    717.10       332,472.85
01/31/12       Int        The Bank of New York Mellon   Interest posting at 0.0100%                          1270-000                  2.82                           332,475.67
01/31/12                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    726.83       331,748.84
02/29/12                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    657.15       331,091.69
03/30/12                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    678.46       330,413.23
04/13/12      1006        CALIFORNIA FRANCHISE TAX      2010 LLC Return of Income - Form 568                 2820-000                                 4,107.00        326,306.23
                          BOARD
04/13/12      1007        CALIFORNIA FRANCHISE TAX      Estimated Taxes 2011 - Form 3536 LLC                 2820-000                                 2,500.00        323,806.23
                          BOARD
04/13/12      1008        CALIFORNIA FRANCHISE TAX      2011 LLC Tax Voucher - Form 3522                     2820-000                                    800.00       323,006.23
                          BOARD
04/30/12                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    649.72       322,356.51
05/31/12                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    726.70       321,629.81
06/29/12                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    637.10       320,992.71
07/31/12                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    701.62       320,291.09
08/31/12                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    678.21       319,612.88
09/27/12      1009        ANDERSON ZURMUEHLEN & CO,     Interim Fees - Accountant for Trustee                3410-000                                 2,625.00        316,987.88
                          P.C.
09/28/12                  The Bank of New York Mellon   Bank and Technology Services Fee                     2600-000                                    611.27       316,376.61
10/05/12      {12}        Sports Cycle Leasing          Proceeds from Liquidation of Collateral              1129-000            74,088.58                            390,465.19


                                                                                                  Subtotals :                   $85,390.66          $36,682.49
{} Asset reference(s)                                                                                                                      Printed: 12/19/2013 11:33 AM        V.13.13
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                                                   Cash Receipts And Disbursements Record
Case Number:        10-60026-7                                                                 Trustee:            RICHARD J. SAMSON (460150)
Case Name:          MDK SPORTS LLC                                                             Bank Name:          The Bank of New York Mellon
                                                                                               Account:            9200-******76-65 - Checking Account
Taxpayer ID #: **-***2903                                                                      Blanket Bond:       $78,692.00 (per case limit)
Period Ending: 12/19/13                                                                        Separate Bond: N/A

   1            2                              3                               4                                               5                   6                   7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction                T-Code              $                   $       Account Balance
10/31/12                 The Bank of New York Mellon    Bank and Technology Services Fee                  2600-000                                     825.01      389,640.18
11/08/12      {21}       State of California            2011 franchise tax refund                         1224-000                 800.00                          390,440.18
11/14/12      1010       RICHARD J. SAMSON              Dividend paid 100.00% on $26,163.34,              2100-000                                 26,163.34       364,276.84
                                                        Trustee Compensation; Reference:
11/14/12      1011       RICHARD J. SAMSON              Dividend paid 100.00% on $200.00, Trustee         2200-000                                     200.00      364,076.84
                                                        Expenses; Reference:
11/14/12      1012       EMPLOYMENT DEVELOPMENT         Dividend paid 75.40% on $3,898.24; Claim#         5800-000                                  2,939.36       361,137.48
                         DEPARTMENT                     10P; Filed: $3,898.24; Reference:
11/14/12      1013       INTERNAL REVENUE SERVICE       Dividend paid 75.40% on $337,271.02;              5800-000                                254,310.18       106,827.30
                                                        Claim# 13; Filed: $337,271.02; Reference:
11/30/12                 The Bank of New York Mellon    Bank and Technology Services Fee                  2600-000                                     650.37      106,176.93
12/03/12      {22}       State of CA                    2010 tax refund                                   1224-000                 226.59                          106,403.52
12/18/12                 RABOBANK MIGRATION             TRANSFER TO 0001046015088                         9999-000                                106,403.52                  0.00
                         TRANSFER OUT                   20121218

                                                                             ACCOUNT TOTALS                                  739,381.88           739,381.88                 $0.00
                                                                                    Less: Bank Transfers                     170,038.44           276,403.52
                                                                             Subtotal                                        569,343.44           462,978.36
                                                                                    Less: Payments to Debtors                                            0.00
                                                                             NET Receipts / Disbursements                   $569,343.44          $462,978.36




{} Asset reference(s)                                                                                                                   Printed: 12/19/2013 11:33 AM        V.13.13
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                                                Cash Receipts And Disbursements Record
Case Number:        10-60026-7                                                       Trustee:            RICHARD J. SAMSON (460150)
Case Name:          MDK SPORTS LLC                                                   Bank Name:          The Bank of New York Mellon
                                                                                     Account:            9200-******76-66 - Checking Account
Taxpayer ID #: **-***2903                                                            Blanket Bond:       $78,692.00 (per case limit)
Period Ending: 12/19/13                                                              Separate Bond: N/A

   1            2                         3                           4                                              5                  6                    7

 Trans.     {Ref #} /                                                                                            Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From     Description of Transaction              T-Code              $                  $       Account Balance

   (No Transactions on File for this Period)                        ACCOUNT TOTALS                                        0.00                  0.00               $0.00
                                                                           Less: Bank Transfers                           0.00                  0.00
                                                                    Subtotal                                              0.00                  0.00
                                                                           Less: Payments to Debtors                                            0.00
                                                                    NET Receipts / Disbursements                         $0.00                 $0.00




{} Asset reference(s)                                                                                                         Printed: 12/19/2013 11:33 AM        V.13.13
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                                                  Cash Receipts And Disbursements Record
Case Number:         10-60026-7                                                                 Trustee:            RICHARD J. SAMSON (460150)
Case Name:           MDK SPORTS LLC                                                             Bank Name:          The Bank of New York Mellon
                                                                                                Account:            9200-******76-19 - Money Market Account
Taxpayer ID #: **-***2903                                                                       Blanket Bond:       $78,692.00 (per case limit)
Period Ending: 12/19/13                                                                         Separate Bond: N/A

   1            2                          3                                   4                                                5                  6                    7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements  Money Market
  Date      Check #          Paid To / Received From           Description of Transaction                  T-Code              $                   $       Account Balance
09/07/10                  FUNDING ACCOUNT:              TRANSFER OF FUNDS TO OPEN TIA                      9999-000           170,000.00                            170,000.00
                          9200******7665
09/30/10       Int        The Bank of New York Mellon   Interest posting at 0.0300%                        1270-000                   3.21                          170,003.21
10/29/10       Int        The Bank of New York Mellon   Interest posting at 0.0300%                        1270-000                   4.33                          170,007.54
11/30/10       Int        The Bank of New York Mellon   Interest posting at 0.0300%                        1270-000                   4.19                          170,011.73
12/31/10       Int        The Bank of New York Mellon   Interest posting at 0.0300%                        1270-000                   4.33                          170,016.06
01/31/11       Int        The Bank of New York Mellon   Interest posting at 0.0300%                        1270-000                   4.33                          170,020.39
02/28/11       Int        The Bank of New York Mellon   Interest posting at 0.0300%                        1270-000                   3.91                          170,024.30
03/31/11       Int        The Bank of New York Mellon   Interest posting at 0.0300%                        1270-000                   4.33                          170,028.63
04/29/11       Int        The Bank of New York Mellon   Interest posting at 0.0300%                        1270-000                   4.19                          170,032.82
05/02/11       Int        The Bank of New York Mellon   Interest posting at 0.0300%                        1270-000                   0.13                          170,032.95
05/31/11       Int        The Bank of New York Mellon   Interest posting at 0.0100%                        1270-000                   4.19                          170,037.14
06/30/11       Int        The Bank of New York Mellon   Current Interest Rate is 0.0100%                   1270-000                   1.30                          170,038.44
06/30/11                  To Account #9200******7665    Consolidation of accounts following CD rollover 9999-000                                  170,038.44                   0.00

                                                                            ACCOUNT TOTALS                                    170,038.44          170,038.44                  $0.00
                                                                                      Less: Bank Transfers                    170,000.00          170,038.44
                                                                            Subtotal                                                 38.44              0.00
                                                                                      Less: Payments to Debtors                                         0.00
                                                                            NET Receipts / Disbursements                            $38.44             $0.00




{} Asset reference(s)                                                                                                                    Printed: 12/19/2013 11:33 AM        V.13.13
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                                                   Cash Receipts And Disbursements Record
Case Number:        10-60026-7                                                                 Trustee:            RICHARD J. SAMSON (460150)
Case Name:          MDK SPORTS LLC                                                             Bank Name:          Rabobank, N.A.
                                                                                               Account:            ****874766 - Checking Account
Taxpayer ID #: **-***2903                                                                      Blanket Bond:       $78,692.00 (per case limit)
Period Ending: 12/19/13                                                                        Separate Bond: N/A

   1            2                              3                               4                                               5                    6                   7

 Trans.     {Ref #} /                                                                                                      Receipts          Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction                T-Code              $                    $       Account Balance
12/19/12                 RABOBANK MIGRATION             RABOBANK MIGRATION                                9999-000           106,403.52                             106,403.52
                         TRANSFER IN
12/24/12     11014       DAVIS WRIGHT TREMAINE LLP      COURT APPROVED FINAL PROFESSIONAL                 3210-000                                  38,007.61           68,395.91
                                                        FEES
12/24/12     11015       DAVIS WRIGHT TREMAINE LLP      COURT APPROVED FINAL COSTS                        3220-000                                       33.46          68,362.45
12/31/12                 Rabobank, N.A.                 Bank and Technology Services Fee                  2600-000                                      142.40          68,220.05
01/31/13                 Rabobank, N.A.                 Bank and Technology Services Fee                  2600-000                                      111.56          68,108.49
02/28/13                 Rabobank, N.A.                 Bank and Technology Services Fee                  2600-000                                       91.43          68,017.06
03/29/13                 Rabobank, N.A.                 Bank and Technology Services Fee                  2600-000                                       94.56          67,922.50
04/30/13                 Rabobank, N.A.                 Bank and Technology Services Fee                  2600-000                                      104.20          67,818.30
05/31/13                 Rabobank, N.A.                 Bank and Technology Services Fee                  2600-000                                      100.79          67,717.51
06/28/13                 Rabobank, N.A.                 Bank and Technology Services Fee                  2600-000                                       90.90          67,626.61
07/31/13                 Rabobank, N.A.                 Bank and Technology Services Fee                  2600-000                                      106.99          67,519.62
08/15/13      {23}       State of California            tax refund                                        1224-000                  900.00                              68,419.62
08/20/13     11016       ANDERSON ZURMUEHLEN & CO., FINAL COURT APPROVED FEES -                           3410-000                                   3,444.00           64,975.62
                         P.C.                           TRUSTEE'S ACCOUNTANT
10/30/13     11017       RICHARD J. SAMSON              Dividend paid 100.00% on $29,964.09,              2100-000                                   3,800.75           61,174.87
                                                        Trustee Compensation; Reference:
10/30/13     11018       EMPLOYMENT DEVELOPMENT         Dividend paid 93.33% on $3,898.24; Claim#         5800-000                                      698.99          60,475.88
                         DEPARTMENT                     10P; Filed: $3,898.24; Reference:
10/30/13     11019       INTERNAL REVENUE SERVICE       Dividend paid 93.33% on $337,271.02;              5800-000                                  60,475.88                  0.00
                                                        Claim# 13; Filed: $337,271.02; Reference:

                                                                             ACCOUNT TOTALS                                  107,303.52            107,303.52                 $0.00
                                                                                    Less: Bank Transfers                     106,403.52                   0.00
                                                                             Subtotal                                               900.00         107,303.52
                                                                                    Less: Payments to Debtors                                             0.00
                                                                             NET Receipts / Disbursements                          $900.00       $107,303.52



                                                                                                                                 Net               Net                  Account
                                                                             TOTAL - ALL ACCOUNTS                              Receipts       Disbursements             Balances

                                                                             Checking # 9200-******76-65                     569,343.44            462,978.36                  0.00
                                                                             Checking # 9200-******76-66                              0.00                0.00                 0.00
                                                                             MMA # 9200-******76-19                                  38.44                0.00                 0.00
                                                                             Checking # ****874766                                  900.00         107,303.52                  0.00

                                                                                                                            $570,281.88          $570,281.88                  $0.00




{} Asset reference(s)                                                                                                                    Printed: 12/19/2013 11:33 AM        V.13.13
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                                                Cash Receipts And Disbursements Record
Case Number:        10-60026-7                                                       Trustee:            RICHARD J. SAMSON (460150)
Case Name:          MDK SPORTS LLC                                                   Bank Name:          Rabobank, N.A.
                                                                                     Account:            ****874766 - Checking Account
Taxpayer ID #: **-***2903                                                            Blanket Bond:       $78,692.00 (per case limit)
Period Ending: 12/19/13                                                              Separate Bond: N/A

   1            2                        3                            4                                              5                   6                   7

 Trans.     {Ref #} /                                                                                            Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From     Description of Transaction              T-Code              $                  $       Account Balance




{} Asset reference(s)                                                                                                         Printed: 12/19/2013 11:33 AM        V.13.13
